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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 LEINANI DESLANDES, on behalf of herself
 and all others similarly situated,

                Plaintiff,                          Case No. 17-cv-04857

    v.                                              Judge Jorge L. Alonso
                                                    Magistrate Judge M. David Weisman
 McDONALD’S USA, LLC, et al.,

                Defendants.


 STEPHANIE TURNER, on behalf of herself
 and all others similarly situated,

                Plaintiff,                          Case No. 19-cv-05524

    v.                                              Judge Jorge L. Alonso
                                                    Magistrate Judge M. David Weisman
 McDONALD’S USA, LLC, et al.,

                Defendants.


  UNITED STATES’ MOTION FOR LEAVE TO FILE STATEMENT OF INTEREST

         On October 26, 2021, defendants McDonald’s USA, LLC and McDonald’s Corporation

filed a motion for judgment on the pleadings or, in the alternative, summary judgment.

ECF No. 378. In support of their motion, the defendants cited a Statement of Interest filed by the

United States in Stigar v. Dough Dough, Inc., No. 2:18-cv-00244 (E.D. Wash. Mar. 8, 2019).

ECF No. 379 at 15; see also ECF No. 108 at 6 (citing Stigar Statement of Interest); ECF No. 370

at 6 (same). The Statement of Interest in Stigar, however, does not fully and accurately reflect

the United States’ current views.
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       To aid the Court’s disposition of the motion, the United States respectfully requests leave

to file a Statement of Interest in this matter by or before March 21, 2022, setting forth the

government’s position on the antitrust issues in this case, including the implications of the

Supreme Court’s decision in NCAA v. Alston, 141 S. Ct. 2141 (2021).

       28 U.S.C. § 517 authorizes the Attorney General of the United States to send any officer

of the Department of Justice to “attend to the interests of the United States in a suit pending in a

court of the United States, or in a court of a State, or to attend to any other interest of the United

States.” The United States believes that its participation in this case would be helpful to the

Court in adjudicating the pending motion. If the Court is so inclined, it may permit the parties to

submit supplemental briefs in response to the United States’ Statement of Interest. Cf. Mountain

Crest SRL, LLC v. Anheuser-Busch InBev SA/NV, 937 F.3d 1067, 1079 n.62 (7th Cir. 2019)

(noting that the court had allowed the parties to submit supplemental briefs in response to

government amicus brief filed after oral argument).

       The United States has notified counsel for both the plaintiffs and the defendants of its

intent to file this motion. The plaintiffs indicated that they do not oppose the requested relief.

The defendants indicated that they intend to oppose the request or, in the alternative, seek a

chance to supplement their briefing in response to the proposed Statement of Interest.

       The United States appreciates the Court’s consideration of its interest in this matter.




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February 17, 2022                    Respectfully submitted,

                                     /s/ Peter M. Bozzo

                                     JONATHAN S. KANTER
                                     Assistant Attorney General

                                     DOHA MEKKI
                                     Principal Deputy Assistant Attorney General

                                     DANIEL E. HAAR
                                     NICKOLAI G. LEVIN
                                     PETER M. BOZZO
                                     Attorneys

                                     UNITED STATES DEPARTMENT OF JUSTICE
                                     ANTITRUST DIVISION

                                     950 Pennsylvania Avenue, NW
                                     Room 3224
                                     Washington, DC 20530-0001
                                     Telephone: (202) 368-4122
                                     Email: peter.bozzo@usdoj.gov




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 17, 2022, I electronically filed the foregoing brief by using

the CM/ECF system. Participants in the case are registered CM/ECF users, and service will

be accomplished by the CM/ECF system.



                                                      /s/ Peter M. Bozzo
                                                          Peter M. Bozzo




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